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                                            July 28, 2021
VIA ELECTRONIC FILING

Magistrate Judge Beth P. Gesner
United States District Court for the
District of Maryland
101 West Lombard Street
Baltimore, Maryland 21201

       Re:     Gross, et al v. P.O. Hopkins
               Case No. 1:17-cv-03479-BPG


Dear Magistrate Judge Gesner:


       In response to your letter dated July 22, 2021, regarding the timing of dispositive

motions, it is Plaintiff's position that dispositive motions should not be considered until after the

settlement conference.



                                                       Respectfully,

                                                       /s/ Keith Altman
                                                       Keith Altman
                                                       The Law Office of Keith Altman

       KA/eds

       Cc:     All Counsel of Record (via electronic filing)
